            Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 1 of 14



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

NICHOLAS DeFOSSETT,               )
                                  )
     Plaintiff,                   )
                                  )              CIVIL ACTION
vs.                               )
                                  )              FILE No. 5:19-cv-699
KIYA III, INC. d/b/a DAIRY QUEEN, )
                                  )
     Defendant.                   )

                                      COMPLAINT

       COMES NOW, NICHOLAS DeFOSSETT, by and through the undersigned

counsel, and files this, his Complaint against Defendant KIYA III, INC. d/b/a DAIRY

QUEEN, pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In

support thereof, Plaintiff respectfully shows this Court as follows:

                                    JURISDICTION

       1.     This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§

1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon

Defendant’s failure to remove physical barriers to access and violations of Title III of the

ADA.

                                        PARTIES

       2.     Plaintiff NICHOLAS DeFOSSETT (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in San Antonio,

Texas (Bexar County).

                                             1
             Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 2 of 14



       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited

in performing one or more major life activities, including but not limited to: walking,

standing, grabbing, grasping and/or pinching.

       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of asserting his civil rights, monitoring,

ensuring, and determining whether places of public accommodation are in compliance

with the ADA. His motivation to return to a location, in part, stems from a desire to

utilize ADA litigation to make Plaintiff’s community more accessible for Plaintiff and

others, and pledges to do whatever is necessary to create the requisite standing to confer

jurisdiction upon this Court so an injunction can be issued correcting the numerous ADA

violations on this Property, including returning to the Property as soon as it is accessible

(“Advocacy Purposes”).”

       7.      Defendant KIYA III, INC. d/b/a DAIRY QUEEN (hereinafter “Kiya III”) is

a Texas for profit corporation that transacts business in the state of Texas and within this

judicial district.

       8.      Kiya III may be properly served with process via its registered agent for

service, to wit: Shahla Afsar, 14 Marella Drive, San Antonio, Texas 78248.

                               FACTUAL ALLEGATIONS

       9.      On or about May 11, 2019, Plaintiff was a customer at “Dairy Queen” a

business located at 1914 Jackson Keller Road, San Antonio, Texas 78213, referenced

                                              2
             Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 3 of 14



herein as the “Dairy Queen.”

       10.    Kiya III is the owner or co-owner of the real property and improvements

that the Dairy Queen is situated upon and that is the subject of this action, referenced

herein as the “Property.”

       11.    Plaintiff lives approximately 7 miles from the Dairy Queen and Property.

       12.    Plaintiff’s access to the business(es) located at 1914 Jackson Keller Road,

San Antonio, Bexar County Property Identification number 489603 (“the Property”),

and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and

until Defendant is compelled to remove the physical barriers to access and correct the

ADA violations that exist at the Dairy Queen and Property, including those set forth in

this Complaint.

       13.    Plaintiff has visited the Property at least once before as a customer and

advocate for the disabled. Plaintiff intends on revisiting the Property within six months

or sooner, as soon as the barriers to access detailed in this Complaint are removed and the

Property is accessible again. The purpose of the revisit is to be a regular customer, to

determine if and when the Property are made accessible and to maintain standing for this

lawsuit for Advocacy Purposes.

       14.    Plaintiff intends to revisit the Dairy Queen and Property to purchase goods

and/or services.

       15.    Plaintiff travelled to the Dairy Queen and Property as a customer and as an

                                            3
               Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 4 of 14



independent advocate for the disabled, encountered the barriers to access at the Dairy

Queen and Property that are detailed in this Complaint, engaged those barriers, suffered

legal harm and legal injury, and will continue to suffer such harm and injury as a result of

the illegal barriers to access present at the Dairy Queen and Property.


                                   COUNT I
                       VIOLATIONS OF THE ADA AND ADAAG

       16.      On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       17.      Congress found, among other things, that:

       (i)      some 43,000,000 Americans have one or more physical or mental
                disabilities, and this number is increasing as the population as a
                whole is growing older;

       (ii)     historically, society has tended to isolate and segregate individuals
                with disabilities, and, despite some improvements, such forms of
                discrimination against individuals with disabilities continue to be a
                serious and pervasive social problem;

       (iii)    discrimination against individuals with disabilities persists in such
                critical areas as employment, housing public accommodations,
                education,        transportation,    communication,        recreation,
                institutionalization, health services, voting, and access to public
                services;

       (iv)     individuals with disabilities continually encounter various forms of
                discrimination, including outright intentional exclusion, the
                discriminatory effects of architectural, transportation, and
                communication barriers, overprotective rules and policies, failure to
                make modifications to existing facilities and practices, exclusionary
                qualification standards and criteria, segregation, and relegation to
                lesser service, programs, activities, benefits, jobs, or other
                opportunities; and

       (v)      the continuing existence of unfair and unnecessary discrimination

                                              4
              Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 5 of 14



               and prejudice denies people with disabilities the opportunity to
               compete on an equal basis and to pursue those opportunities for
               which our free society is justifiably famous, and costs the United
               States billions of dollars in unnecessary expenses resulting from
               dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       18.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the
               elimination of discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in
               order to address the major areas of discrimination faced day-to-day
               by people with disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       19.      The congressional legislation provided places of public accommodation

one and a half years from the enactment of the ADA to implement its requirements.

       20.     The effective date of Title III of the ADA was January 26, 1992 (or January

26, 1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or

less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

       21.     The Dairy Queen is a public accommodation and service establishment.

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to


                                              5
             Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 6 of 14



implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.    Public accommodations were required to conform to these regulations by

January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and

gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.    The Dairy Queen must be, but is not, in compliance with the ADA and

ADAAG.

       26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

       27.    Plaintiff has attempted to, and has to the extent possible, accessed the Dairy

Queen and the Property in his capacity as a customer of the Dairy Queen and Property

and as an independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and ADA

violations that exist at the Dairy Queen and Property that preclude and/or limit his access

to the Dairy Queen and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers, conditions

and ADA violations more specifically set forth in this Complaint.

       28.    Plaintiff intends to visit the Dairy Queen and Property again in the very

near future as a customer in order to utilize all of the goods, services, facilities,

privileges, advantages and/or accommodations commonly offered at the Dairy Queen and

Property and as an independent advocate for the disabled, but will be unable to fully do

so because of his disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Dairy Queen and Property that preclude and/or limit his

                                             6
              Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 7 of 14



access to the Dairy Queen and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers, conditions

and ADA violations more specifically set forth in this Complaint.

       29.      Defendant has discriminated against Plaintiff (and others with disabilities)

by denying his access to, and full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations of the Dairy Queen and Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       30.      Defendant will continue to discriminate against Plaintiff and others with

disabilities unless and until Defendant is compelled to remove all physical barriers that

exist at the Dairy Queen and Property, including those specifically set forth herein, and

make the Dairy Queen and Property accessible to and usable by Plaintiff and other

persons with disabilities.

       31.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Dairy Queen and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and accommodations

of the Dairy Queen and Property include, but are not limited to:

       (a)      ACCESSIBLE ELEMENTS:

       (i) The Accessible parking space has a slope and cross-slope in excess of 1:48 in

             violation of section 502.4 of the 2010 ADAAG standards and is not level. This



                                              7
        Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 8 of 14



    violation made it dangerous and difficult for Plaintiff to exit and enter their

    vehicle while parked at the Property.

(ii) The accessible parking space does not have a properly marked access aisle in

    violation of section 502.3.3 of the 2010 ADAAG standards. This violation

    made it dangerous and difficult for Plaintiff to access the accessible entrances

    of the Property.

(iii)    The ground surfaces of the accessible parking space have vertical rises in

    excess of ¼ (one quarter) inch in height, are not stable or slip resistant, have

    broken or unstable surfaces or otherwise fail to comply with Section 302 and

    303 of the 2010 ADAAG standards. This violation made it dangerous and

    difficult for Plaintiff to access the units of the Property.

(iv)     The accessible parking space is missing a proper identification sign in

    violation of section 502.6 of the 2010 ADAAG standards. This violation made

    it difficult for Plaintiff to locate an accessible parking space.

(v) The Property lacks an accessible route from accessible parking space to the

    accessible entrance of the Property, due to the placement of the Dairy Queen

    drive through sign, in violation of section 206.2.1 of the 2010 ADAAG

    standards.    The configuration of the accessible route from the accessible

    parking space requires a disabled individual to dangerously traverse in the

    vehicular way. This violation made it difficult for Plaintiff to access the units

    of the Property.



                                        8
        Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 9 of 14



(vi)     The ground surfaces of the accessible route leading from the accessible

    parking space to the sole accessible ramp has vertical rises in excess of ¼ (one

    quarter) inch in height, are not stable or slip resistant, have broken or unstable

    surfaces or otherwise fail to comply with Section 302 and 303 of the 2010

    ADAAG standards. This violation made it dangerous and difficult for Plaintiff

    to access the units of the Property.

(vii)    The Property has an accessible ramp leading from the accessible parking

    space to the accessible entrances with a slope exceeding 1:10 in violation of

    section 405.2 of the 2010 ADAAG standards. This violation made it dangerous

    and difficult for Plaintiff to access the units of the Property.

(viii) The ground surfaces of the accessible ramp have vertical rises in excess of

    ¼ (one quarter) inch in height, are not stable or slip resistant, have broken or

    unstable surfaces or otherwise fail to comply with Section 302 and 303 of the

    2010 ADAAG standards. This violation made it dangerous and difficult for

    Plaintiff to access the units of the Property.

(ix)     The accessible ramp side flares have a slope in excess of 1:10 in violation

    of section 406.3 of the 2010 ADAAG standards. This violation made it

    dangerous and difficult for Plaintiff to access the units of the Property.

(x) There is an excessive vertical rise at the top of the accessible ramp in violation

    of Section 303.2 and 405.4 of the 2010 ADAAG standards. This violation

    made it dangerous and difficult for Plaintiff to access public features of the

    Property.

                                        9
        Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 10 of 14



(xi)      One or more accessible ramps servicing the Property lack finished edges or

    edge protection and/or are otherwise in violation of section 405.9 of the 2010

    ADAAG standards. This violation made it difficult for Plaintiff to access the

    units of the Property.

(xii)     There is not at least 5% (five percent) of the exterior dining surfaces

    provided for consumption of food or drink that comply with section 902.2 of

    the 2010 ADAAG standards, requiring appropriate knee and toe clearance

    complying with section 306 of the 2010 ADAAG standards, positioned for a

    forward approach, in violation of section 226.1 of the 2010 ADAAG standards.

(i) Defendants fail to adhere to a policy, practice and procedure to ensure that all

    facilities are readily accessible to and usable by disabled individuals.

(b)       DAIRY QUEEN RESTROOMS:

(i) The restroom lacks signage in compliance with sections 216.8 and 703 of the

    2010 ADAAG standards. This made it difficult for Plaintiff and/or any

    disabled individual to locate accessible restroom facilities.

(ii) The restrooms lack proper door hardware in violation of section 404.2.7 of the

    2010 ADAAG standards. This made it difficult for Plaintiff and/or any

    disabled individual to utilize the restroom facilities.

(iii)     The door to the restrooms has a maximum clear width below 32 (thirty-

    two) inches in violation of section 404.2.3 of the 2010 ADAAG standards.

    This made it difficult for Plaintiff and/or any disabled individual to safely

    utilize the restroom facilities.

                                       10
       Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 11 of 14



(iv)     Restrooms have a vanity sink with inadequate knee and toe clearance in

    violation of section 306 of the 2010 ADAAG standards. This made it difficult

    for Plaintiff and/or any disabled individual to safely utilize the restroom

    facilities.

(v) The soap dispenser in the restroom is located outside the prescribed vertical

    reach ranges set forth in section 308.2.1 of the 2010 ADAAG standards. This

    made it difficult for Plaintiff and/or any disabled individual to safely utilize the

    restroom facilities.

(vi)     The actionable mechanism of the hand drying devices in the restrooms are

    located outside the prescribed vertical reach ranges set forth in section 308.2.1

    of the 2010 ADAAG standards. This made it difficult for Plaintiff and/or any

    disabled individual to safely utilize the restroom facilities.

(vii)    There is inadequate clear turning space in violation of section 603.2.1 of the

    2010 ADAAG standards. This made it difficult for Plaintiff and/or any

    disabled individual to safely utilize the restroom facilities.

(viii) The grab bars/handrails adjacent to the commode are missing and violate

    section 604.5 of the 2010 ADAAG standards. This made it difficult for

    Plaintiff and/or any disabled individual to safely utilize the restroom facilities.

(ix)     The restroom lacks adequate clear floor space for both the sink and the

    toilet, in violation of 606.2 of the 2010 ADAAG standards. This made it

    difficult for the Plaintiff and/or any disabled individual to safely utilize the

    restroom facilities.

                                       11
             Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 12 of 14



       (x) The restroom has walking surfaces lacking a 36 (thirty-six) inch clear width

             leading to the toilet, in violation of section 403.5.1 of the 2010 ADAAG

             standards. This violation made it difficult for Plaintiff and/or any disabled

             individual to properly utilize the restroom facilities at the Property.

       (i)          The light switch is located outside of the minimum reach range required

             by section 308 of the 2010 ADAAG standards. This made it difficult for

             Plaintiff and/or any disabled individual to safely utilize the restroom facilities.

       32.      The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Dairy Queen

and Property.

       33.      Plaintiff requires an inspection of Dairy Queen and Property in order to

determine all of the discriminatory conditions present at the Dairy Queen and Property in

violation of the ADA.

       34.      The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried out

without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. §

12181(9); 28 C.F.R. § 36.304.

       35.       All of the violations alleged herein are readily achievable to modify to

bring the Dairy Queen and Property into compliance with the ADA.

       36.      Upon information and good faith belief, the removal of the physical barriers

and dangerous conditions present at the Dairy Queen and Property is readily achievable

because the nature and cost of the modifications are relatively low.

                                                12
                Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 13 of 14



          37.     Upon information and good faith belief, the removal of the physical barriers

and dangerous conditions present at the Dairy Queen and Property is readily achievable

because Defendants have the financial resources to make the necessary modifications.

          38.     Upon information and good faith belief, the Dairy Queen and Property have

been altered since 2010.

          39.     In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

          40.     Plaintiff is without adequate remedy at law, is suffering irreparable harm,

and reasonably anticipates that he will continue to suffer irreparable harm unless and

until Defendant is required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Dairy Queen and Property, including those alleged

herein.

          41.     Plaintiff’s requested relief serves the public interest.

          42.     The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant.

          43.     Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and

costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

          44.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant to

modify the Dairy Queen and Property to the extent required by the ADA.

          WHEREFORE, Plaintiff prays as follows:

                                                  13
      Case 5:19-cv-00699 Document 1 Filed 06/14/19 Page 14 of 14



(a)     That the Court find Kiya III in violation of the ADA and ADAAG;

(b)     That the Court issue a permanent injunction enjoining Defendant from

        continuing their discriminatory practices;

(c)     That the Court issue an Order requiring Defendant to (i) remove the

        physical barriers to access and (ii) alter the subject Dairy Queen to make it

        readily accessible to and useable by individuals with disabilities to the

        extent required by the ADA;

(d)     That the Court award Plaintiff his reasonable attorneys' fees, litigation

        expenses and costs; and

(e)     That the Court grant such further relief as deemed just and equitable in light

        of the circumstances.

                                    Dated: June 14, 2019.

                                    Respectfully submitted,

                                    /s/ Dennis R. Kurz
                                    Dennis R. Kurz
                                    Attorney-in-Charge for Plaintiff
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                                      14
